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                            Exhibit F




F
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       Roger Stone jury foreperson's anti-Trump social media
         posts surface after she defends DOJ prosecutors
                                                                     By Gregg Re I Fox News




     Tucker Carlson on Roger Stone's prison sentencing
     Is Roger Stone's sentencing a political hit?




     Former Memphis City Schools Board President                  revealed Wednesday that she was the
     foreperson of the jury that convicted former Trump adviser Roger Stone on obstruction charges last
     year - and soon afterward, her history of Democratic activism and a string of her anti-Trump, left-
     wing social media posts came to light.




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         even P-0Sted SP-ecifically, about the Stone case before she was selected to sit on the jury, as she
    retweeted an argument mocking those who considered Stone's dramatic arrest in a predawn raid by
    a federal tactical team to be excessive force. She also suggested President Trump and his
    supporters are racist and praised the investigation conducted by Special Counsel Robert Mueller,
    which ultimately led to Stone's prosecution.

    Meanwhile, it emerged that U.S. District Judge Amy Berman Jackson had denied a defense request
    to strike a potential juror who was Obama-era press official with admitted anti-Trump views -- and
    whose husband worked at the same Justice Department division that handled the P-robe leading to
    Stone's arrest. And, another Stone juror,            , donated to former Democratic presidential
    candidate Beto O'Rourke and other progressive causes, federal election records reviewed by Fox
    News show.

    The revelations came as Trump has called the handling of Stone's prosecution "ridiculous" and a
    demonstrably unfair "insult to our country." They raised the prospect that Stone's team could again
    seek a new trial, especially if    provided inaccurate responses under oath on her pretrial
    questionnaires concerning social media activity.

    The drama began when          confirmed to CNN and other media organizations Wednesday that she
    had written a Facebook post supporting the Justice Department prosecutors in the Stone case who
    abru.ptlY. stem~ed down from their P-Osts on TuesdaY., saying she "can't keep quiet any longer." The
    prosecutors apparently objected after senior DOJ officials overrode their recommendation to
    Jackson that Stone face up to 9 years in prison.




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   DOJ PROSECUTORS QUIT EN MASSE; TRUMP SAYS STONE CASE A MISCARRIAGE OF JUSTICE

    "I want to stand up for Aaron Zelinsky, Adam Jed, Michael Marando, and Jonathan Kravis -- the
    prosecutors on the Roger Stone trial,"     wrote in the post. "It pains me to see the DOJ now
    interfere with the hard work of the prosecutors. They acted with the utmost intelligence, integrity,
    and respect for our system of justice."




    FILE - In this Nov. 12, 2019 file photo, Roger Stone, a longtime Republican provocateur and former confidant of President Donald
    Trump, waits in line at the federal court in Washington. A Justice Department official tells the AP that the agency is backing away
    from its sentencing recommendation of between seven to nine years in prison for Trump confidant Roger Stone. (AP Photo/Manuel
     Balce Ceneta)


          added: "As foreperson [of the jury], I made sure we went through every element, of every
     charge, matching the evidence presented in the case that led us to return a conviction of guilty on all
     7 counts."

     Independent journalist Mike Cernovich, not CNN, then first regorted that a slew of        other
     publicly available Twitter and Facebook posts readily suggested a strong political bias. Some of
          s posts were written as Stone's trial was in progress.

          who unsuccessfully ran for Congress as a Democrat in 2012, guoted someone in an August
     2017 tweet referring to Trump as a member of the KKK.




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   In January 2019, she retweeted a P-OSt by pundit Bakari Sellers, who noted that "Roger Stone has
   y'all talking about reviewing use of force guidelines," before suggesting that racism was the reason
   for all the attention Stone's arrest had received from conservatives.


    In August 2019,               cal led all TrumP- sumiorters "racist."

    "Gotta love it!"    wrote on J an . 13, 2018, in response to a news report that a vulgarity had been
    projected onto the Trump International Hotel in Washington, D.C.


    A week later, on Jan. 21, 2018, she shared an opinion piece entitled, "What's so extremely, uniquely
    wrong about Trump's presidency."

    On March 24, 2019,         shared a Facebook P-Ost saying that Republicans who complained about
    Mueller's probe were deliberately "ignoring the numerous indictments, guilty pleas, and convictions
    of people in 45's inner-circle," referring to Trump.


    Most of      s posts were from before she was selected to sit on the Stone jury late 2019 . But, on
    Nov. 15, 2019 -- the day she voted to convict Stone on seven counts of obstruction, witness
    tampering and making false statements to Congress --        t weeted t wo "heart" emoj~ followed by
    two pump-fist emojis.

    (None of Stone's charges accused him of engaging in a criminal conspiracy with Russia or any other
    actors concerning election interference; instead, his offenses related to his statements concerning
    his contacts with Wikileaks and others.)

            's tweet linked to a Facebook post that has since been taken down from public view.

    If      have provided misleading answers on her jury form concerning her political or social media
    activity, her views on Trump and the Russia probe, or other related matters, there could be grounds
    for Stone's team to seek a new trial, legal experts told Fox News.

     FLASHBACK: FORMER FBI DIRECTOR MCCABE ADMITS LYING TO INVESTIGATORS, STILL NO
     CHARGES

         did not immediately respond to Fox News' request for comment. The Memphis Commercial
     Appeal noted that she was a native of the city and had served a term as the president of its school
     board.


         s posts surfaced the same day that Jackson, who oversaw the Stone case, unsealed her
     order from earlier this month denying Stone's request for a new trial.

     Stone's team argued that an unnamed juror had misled the court concerning his or her exposure to
     the media during the case, and also had some potential bias because of his or her work with the
     IRS, which sometimes has interfaced with the DOJ on criminal matters.
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   But, Jackson shot down the motion for a new trial, saying the juror's potential bias was not
   demonstrated - and even if it were, it wasn't significant enough to warrant the drastic step of calling
   for a new trial.

    Courts allow for a new trial, Jackson noted, when "a serious miscarriage of justice may have
    occured." Bias is a permissible reason to remove a juror or call for a new trial only in "extreme
    situations where the relationship between a prospective juror and some aspect of the litigation is
    such that it is highly unlikely that the average person could remain impartial in his deliberations
    under the circumstances ."

    READ JACKSON'S ORDER SHUTTING DOWN MOTION FOR NEW TRIAL

    Jackson, who was appointed to the bench by President Barack Obama, also took a shot at Stone's
    team for failing to uncover the information sooner.


    "The defense could have easily conducted the same Internet search included in the instant motion
    and could have raised concerns at that time," Jackson wrote.

    Fox News reported earlier Tuesday that top brass at the DOJ were "shocked" that prosecutors
    handling the Stone case had recommended Monday...night that Jackson sentence the 67-year-old
    Stone to between 87 and 108 months in prison. The prosecutors asserted in the Monday_filing that
    Stone's conduct post-indictment - including violating the judge's social media gag orders - merited
    a sentence much longer than the 15 to 21 months that the defense said was actually ad\ 1s able
    under the federal sentencing guidelines.

    ~DOJ overrules suggested sentence for Roger Stone




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   In a new, amended filing Tuesday afternoon, the DOJ told Jackson that the government "respectfully
   submits that a sentence of incarceration far less than 87 to 108 months' imprisonment would be
   reasonable under the circumstances," but that the government "ultimately defers to the court as to
   the specific sentence to be imposed."

   Government officials wrote in the amended filing that while it was "technically" possible to argue
   that Stone deserved the severe federal sentencing enhancement for threatening physical harm to a
   witness, such a move would violate the spirit of the federal guidelines.

    It would place Stone in a category of the guidelines that "typically applies in cases involving violent
    offenses, such as armed robbery, not obstruction cases," the government argued, noting that Stone's
    "advanced age, health, personal circumstances, and lack of criminal history" also counseled against
    the harsh penalty.


    Specifically, prosecutors said that although Stone allegedly had threatened witness Randy Credico's
    therapy dog, Bianca -- saying he was "going to take that dog away from you" -- it was important to
    recognize that Credico, a New York radio host, has acknowledged that he "never in any way felt that
    Stone himself posed a direct physical threat to me or my dog."

    The government continued, "If the court were not to apply the eight-level enhancement for
    threatening a witness with physical injury, it would result in the defendant receiving an advisory
    guidelines range of 37 to 46 months, which as explained below is more in line with the typical
    sentences imposed in obstruction cases."

    READ THE DOJ'S NEW FILING ; READ THE ORIGINAL FILING REQUESTING A LONGER SENTENCE

    A senior DOJ official confirmed to Fox News that senior leadership officials there made the call to
    reverse the initial sentencing recommendation, saying the filing on Monday evening was not only
    extreme, but also substantially inconsistent with how the prosecutors had briefed DOJ leadership
    they would proceed on the case. The "general communication" between the U.S. Attorney's Office
    and the main DOJ had led senior officials to expect a more moderate sentence, the offici I told     x
    News.

    ~Trump: Justice Department corrected 'horribleness' of Stone sentencing




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    "It's surprising that would be the line in the sand -- an amended filing," a senior DOJ official told Fox
    News, adding that the problem with the original sentencing recommendation was it told the judge
    that the only way to serve justice was a lengthy sentence.

    "We're backing off from, 'It has to be this,"' the DOJ source told Fox News. "The amended filing says
    it's a serious crime, and prison time is appropriate; we're just saying it doesn't have to be 87 to 108
    months."

    Speaking to reporters on Tuesday, Trump said he stayed out of internal DOJ deliberations, but
    strongly opposed their initial sentencing recommendation.

    "I stay out of things to a degree that people wouldn't believe," Trump said. He added that the initial
    recommendation was "ridiculous" and called it "an insult to our country."

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    Later, Trump took a shot at Jackson, writing on Twitter: "Is this the Judge that put Paul Manafort in
    SOLITARY CONFINEMENT, something that not even mobster Al Capone had to endure? How did she
    treat Crooked Hillary Clinton? Just asking!"

     Fox News' Jake Gibson and Alex Pfeiffer contributed to this report.


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     at gregory.re@foxnews.com.                                                      · ·· ·




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